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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

APRIL WILKERSON,            )
                            )
     Plaintiff,             )
                            )                    CIVIL ACTION FILE
v.                          )                    NO.___________________
                            )
OBCEK CORPORATION, and     )
SEARS AUTHORIZED           )
HOMETOWN STORES, LLC both  )
D/B/A SEARS HOMETOWN STORE )
                           )
                            )                    JURY TRIAL DEMANDED
                            )
     Defendants.            )

                                COMPLAINT

      Plaintiff April Wilkerson (“Plaintiff” or “Ms. Wilkerson”) submits the

following Complaint against Defendants Obcek Corporation (“Obcek”), and Sears

Hometown Stores, LLC (“Sears Hometown” or collectively “Joint Employers”).

                              INTRODUCTION

      Plaintiff is African American. She was hired by Obcek in April 2019 to work

in a Sears Hometown Store in McDonough GA. At some point in or around the fall

of 2019, Sears Hometown became involved in the operation of the stores also. Upon

information and belief Sears Hometown and Obcek became joint employers. In

September 2019, Plaintiff contacted Joint Employers Ethics hotline and made a

compliant of gender discrimination and race discrimination against the store
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manager Annie Woodie. Shortly after this complaint, (1) Plaintiff’s hours were

severely cut, (2) she was required to complete training that her colleagues were not

required to attend, and (3) her sales commissions were directed to her colleague and

away from Plaintiff. In fact, Plaintiff was adversely treated by Joint Employers in

retaliation for her complaints of discrimination in violation of Title VII of the 1964

Civil Rights Act, 42 U.S.C. §2000e et seq. (“Title VII”) and 42 USC Section 1981

(“Section 1981”).

                           JURISDICTION AND VENUE

       1.     Ms. Wilkerson’s claims present federal questions over which this Court

has jurisdiction under 28 U.S.C. §§ 1331, 42 U.S.C. 1981, and 42 U.S.C. §2000e et

seq. and this Court has supplemental jurisdiction over this matter pursuant to 28

U.S.C. § 1367.

       2.     This Court is an appropriate venue for all of Plaintiff’s claims under 28

U.S.C. § 1391(b) and (c) because all of the parties reside within the Northern District

of Georgia, and the substantial majority of events giving rise to Plaintiff’s claims

occurred in this judicial district.

                       ADMINISTRATIVE PROCEEDINGS

       3.     On October 1, and 30, 2019, Ms. Coburn timely filed a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”)




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against Defendants. Attached hereto and incorporated herein is Exhibit A and

Exhibit B.

       4.     On January 6, 2021, the EEOC issued Plaintiff her notice of right to

sue. Attached hereto and incorporated herein is Exhibit C.

       5.     Plaintiff has exhausted her administrative remedies prerequisite to

filing this suit pursuant to Title VII.

       6.     Plaintiff has commenced this action within 90 days of her receipt of the

Right to Sue letter from the EEOC.

                                          PARTIES

       7.     Plaintiff is a citizen of the United States and a resident of the state of

Georgia.

       8.     Plaintiff is female and a member of a protected class under Title VII.

       9.     Plaintiff is African American and a member of a protected class under

Section 1981.

       10.    Plaintiff resides in the Northern District of Georgia and subjects herself

to the Court’s jurisdiction. Plaintiff was an employee of Joint Employers at all times

material to this Complaint, concluding with her unlawful retaliatory termination.

       11.    Obcek is a domestic for-profit corporation licensed to do business in

Georgia. Defendant transacts business in the Northern District of Georgia.




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      12.     Obcek is subject to this Court’s jurisdiction and may be served with

process through its registered agent for service of process, if service is not waved.

      13.    Sears Hometown is a domestic for-profit corporation licensed to do

business in Georgia. Defendant Sears Hometown transacts business in the Northern

District of Georgia.

      14.    Sears Hometown is subject to this Court’s jurisdiction and may be

served with process through its registered agent for service of process if service is

not waved.

                           FACTUAL ALLEGATIONS

      15.    Each Defendant employed fifteen or more employees for each working

day in each of twenty or more calendar weeks throughout 2019.

      16.    Doth Defendants are subject to the anti-discrimination and anti-

retaliation provisions of Title VII of the Civil Rights Act of 1964, as amended and

Section 1981.

      17.    At all times material to this Complaint, Joint Employers had control

over Plaintiff’s employment and the terms and conditions thereof.

      18.    On or about April 2019, Plaintiff began working for Obcek.

      19.    At some point in or around the fall of 2019, Sears Hometown became

involved in the operation of the stores also.

      20.    After the fall of 2019, Defendants became joint employers.



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      21.    Upon information and belief, each Defendant had authority to exercise

control over the terms and conditions of Plaintiff’s employment, specifically but not

limited to her job assignments, her hours, her pay, her benefits, her promotional

opportunities, and each had the ability to hire and fire her.

      22.    Plaintiff received no training for her job.

      23.    Plaintiff received no “Employee handbook” from either Joint

Employer.

      24.    Plaintiff received no policy about how she should report a complaint of

discrimination.

      25.    Until Plaintiff made a complaint of discrimination, Plaintiff was never

written up for poor performance.

      26.    Shortly after she began employment with Joint Employers, Plaintiff

began to be treated differently than her similarly situated collages by the Store

Manager Ms. Woodie.

      27.    In September 2019, Plaintiff contacted the ethics line to register a

harassment complaint.

      28.    After Plaintiff’s complaint, Ms. Woodie approached Plaintiff and told

her that she had done nothing wrong. Ms. Woodie wanted to discuss Plaintiff’s

allegations of race and gender discrimination.

      29.    Plaintiff reported these incidents of harassment to her Joint Employers.



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       30.      Shortly after Plaintiff made her complaint of discrimination, she began

to be retaliated against.

       31.      Specifically, Plaintiff faced at least three incidents of retaliation. First,

Plaintiff’s hours were severely cut.

       32.      Second, Plaintiff was required to complete training that her colleagues

were not required to attend.

       33.      Third, Plaintiff’s sales commissions were directed to her colleague and

away from Plaintiff.

                          COUNT I
    RETALIATION IN VIOLATION OF TITLE VII and SECTION 1981

       34.      Plaintiff hereby incorporates each and every preceding paragraph as if

set forth fully herein.

       35.      Plaintiff engaged in protected activity under Title VII and Section 1981

by complaining of gender discrimination and race discrimination to Joint Employers.

       36.      After Plaintiff’s protected complaints Plaintiff suffered adverse actions

as detailed above.

       37.      Joint Employers’ actions constitute unlawful retaliation in violation of

both Title VII of the Civil Rights Act, as amended and Section 1981.

       38.      Joint Employers willfully and wantonly disregarded Plaintiff’s rights

and Joint Employers’ retaliation against Plaintiff was undertaken intentionally and

in bad faith.

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       39.     As a result of Joint Employers unlawful actions, Plaintiff has suffered

lost compensation and other benefits of employment, significantly diminished

employment opportunities, emotional distress consisting of, but not limited to,

outrage, shock, and humiliation, inconvenience, loss of income, and other

indignities.

                             COUNT II
                NEGLIGENT RETENTION AND SUPERVISION

       40.     Plaintiff hereby incorporates each and every preceding paragraph as if

set forth fully herein.

       41.     Joint Employers continued Ms. Woodie’s employment when it actually

knew, constructively knew, or in the exercise of reasonable care should have known

of her history of and propensity for discriminatory conduct and/or retaliation.

       42.     Notwithstanding Joint Employers’ actual or constructive knowledge of

Ms. Woodie’s history of and propensity for such actions, Defendant negligently

supervised Ms. Woodie and failed to intercede on Plaintiff’s behalf, and negligently

retained Ms. Woodie, thereby ratifying, condoning, and adopting Ms. Woodie’s

conduct, making Joint Employer liable for the negligent supervision and retention

of Ms. Woodie.

       WHEREFORE, Plaintiff demands a trial by jury and for the following relief:

       (a)     a declaratory judgment that Defendants have engaged in unlawful

employment practices in violation of Title VII of the Civil Rights Act, as amended;

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       (b)   an injunction prohibiting Defendants from engaging in unlawful

employment practices in violation of Section 1981 and Title VII of the Civil Rights

Act;

       (c)   full back pay from the date of Plaintiff’s retaliatory termination, taking

into account all raises to which Plaintiff would have been entitled but for her

unlawful termination, and all fringe and pension benefits of employment, with

prejudgment interest thereon;

       (d)   front pay to compensate Plaintiff for lost future wages, benefits, and

pension;

       (e)   compensatory damages, in an amount to be determined by the

enlightened conscience of the jury, for Plaintiff’s emotional distress, suffering,

inconvenience, mental anguish, loss of enjoyment of life and special damages;

       (f)   punitive damages in an amount to be determined by the enlightened

conscious of the jury to be sufficient to punish Defendants for its conduct toward

Plaintiff and deter it from similar conduct in the future;

       (g)   reasonable attorney’s fees and costs; and

       (h)   other and further relief as the Court deems just and proper.

       Respectfully submitted this 6th day of April 2021.

                                                      /s/ J. Stephen Mixon
                                                      J. Stephen Mixon
                                                      Georgia Bar No. 514050
                                                      steve@mixon-law.com

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